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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Norah Flaherty
                                 Plaintiff,
v.                                                    Case No.: 1:20−cv−07244
                                                      Honorable Steven C. Seeger
Maybelline LLC, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 26, 2022:


        MINUTE entry before the Honorable Steven C. Seeger: Hearing held on January
26, 2022. The Court issued an oral ruling on the pending motion to dismiss. For the
reasons stated on the record, Defendants' motion to dismiss (Dckt. Nos. [18]) is hereby
granted in part and denied in part. The Court denies Defendants' motions to dismiss for all
counts, and grants Defendants' motion to dismiss the request for injunctive and
declaratory relief. Counsel discussed the status of discovery. As previously ordered, fact
discovery shall close on June 28, 2022. This case and the companion Gruber case will
proceed on the same schedule. Fact discovery will close on June 28, 2022. Plaintiff's
expert reports are due by August 1, 2022, and the depositions must take place by
September 15, 2022. Defendant's expert reports are due by October 1, 2022, and the
depositions must take place by November 15, 2022. The parties must file a status report
by April 29, 2022, and state whether there is a joint request for a settlement conference
before the Magistrate Judge. The hearing set for January 31, 2022 is hereby vacated.
Mailed notice. (jjr, )




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